Case 5:24-cv-12647-JEL-KGA ECF No. 57, PagelD.1047 Filed 12/10/24 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

DERRICK LEE CARDELLO-SMITH,
Plaintiff,

L &

DEC 10 2024

CLERK'S OFFICE
DETROIT Honorable Judith Levy

File # 2:22-cv-12647

SEAN COMBS,
Defendant,

MOTION FOR LEAVE TO FILE THE CORRECTED, UPDATED
AND TIMELY COPY OF THE PLAINTIFFS ANSWERS TO THE
DEFENDANTS MOTION TO DISMISS WITH
@#) PAGES OF SUPPORTING CASE LAW, DOCUMENTS AND EXHIBITS

now comes the Plaintiff, Derrick Lee Cardello-Smith in the above cause
and hereby moves this Court to CMT LUE TO FILO TTD COnRDCTOD, UrpATED
AD TIMELY COPY OF TRE PLAINTIFFS ANSWERS TO THE DEFENDANTS MOTION TO
DISMISS WITH BRIEF IN SUPPORT, 230 PAGES OF SUPPORTING CASE LAW, AND
DOCUMENTS and submits the following enclosed Brief in Support detailing
why this is necessary, and why the Court should grant it.

11-27-24

#267009

Plaintiff in Pro Per

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon, MI 49444

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BRIEF IN SUPPORT

1. Plaintiff was under extreme pressure and was not granted the full 90
days to get his done and had to send the first one without the full copies
of everything necessary to support the Claims.

2. Plaintiff had trouble getting access to the law library due to their
own scheduling and due to MDOC Staff consistently 'Losing" or Delaying"
this Plaintiff Requests for Law Library Scheduling time to research,
schedule and prepare the Motion to DImiss.

3. Plaintiff, had many problems getting all the required information
from the Other related parties and persons in this matter and had to get
this done under many different lock downs and prison fighting and things
of that nature that interfered with it and plaintiff did not want to lose
the case because of a failure to file or do something.

4. Plaintiff presented the other copy to the court and it was not a
complete copy with all the plaintiffs answers and position on the
Defendants Motion to Dismiss and it is now as complete as possible under
the time limits and the conditions plaintiff has had to be subjected to in
this prison and this now submits it to this court.

5. There is no harm to the administration of justice or the courts
docket in allowing this Plaintiffs Corrected Updated Copy to this court
and to be placed on the Court record.

6. the Defendant will suffer no prejudice by this being allowed as that
he has a team of lawyers that have handled everything thus far with no
problems and they can handle this as well.

8. Plaintiff asks this court to allow it so that Plaintiff can have
everything heard in this court because this matter involves a rape upon
this plaintiff by defendant combs and to allow him to get away with it

without hearing all the facts would be wrong and prejudicial to this

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plaintiff.

Thank you.

RELIEF SOUGHT
Wherefore, Plaintiff prays this court will allow this matter to be
placed on the record and the Court to GRANT LEAVE TO CONSIDER THE

RR Ly submitted to this Court.
Lug ie DS

Mc. Derrick lee Cardello-Smith
#267009

E.C. Brooks Correctional facility
2500 S. Sheridan Drive

Muskegon, MI 49444

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